             Case 7:18-cv-08956-CS Document 49 Filed 07/26/19 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------x
JASON BERGER,

                                            Plaintiff,

                 – against –                                                      ORDER

IMAGINA CONSULTING, INC.,                                                    No. 18-CV-8956 (CS)

                                             Defendant.
-------------------------------------------------------------------------x

Seibel, J.

        Richard Liebowitz, Plaintiff’s counsel in this case, represented to this Court on multiple

occasions that he missed a court conference on April 12, 2019 because of a death in the family.

He was ordered multiple times to provide documentation of that death, but never did, instead

relying on his own statements. (See Docs. 47-48.) Accordingly, it is hereby ORDERED that, on

or before August 12, 2019, Richard Liebowitz shall – on pain of contempt – provide this Court

with a copy of the death certificate of his grandfather who he says passed away on April 12,

2019.

SO ORDERED.

Dated: July 26, 2019
       White Plains, New York

                                                              ________________________________
                                                                    CATHY SEIBEL, U.S.D.J.




                                                         1
